            IN THE UNITED STATES DISTRICT COURT
        FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                      Civil No: 1:19-cv-488


ANGELA M. BECK,                      )
                                     )
                 Plaintiff,          )
                                     )
v.                                   )
                                     )
HUGH J. HURWITZ, Acting              )
Director of the Federal Bureau of    )
Prisons of the United States of      )   COMPLAINT FOR IMMEDIATE
America, in his official and         )     INJUNCTIVE AND OTHER
individual capacity; J.A. KELLER, )          RELIEF CONCERNING
Southeast Regional Director of the )         PLAINTIFF’S URGENT
Federal Bureau of Prisons, in his    )       MEDICAL CONDITION
official and individual capacity;    )
PATRICIA V. BRADLEY,                 )
Warden of the Federal                )
Correctional Institute, Aliceville,  )
Alabama, in her official and         )
individual capacity; JOHN DOE        )
and JANE DOE, unidentified           )
present and former officers, agents, )
and/or employees of the Federal      )
Correctional Institute, Aliceville,  )
Alabama; and SEVEN CORNERS, )
INC.,

               Defendants.

        __________________________________________________




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       The plaintiff, Angela M. Beck, seeking the intervention of the Court to

enjoin the immediate urgent medical treatment for her cancerous condition and

other relief to which she is entitled, hereby states and alleges the following:

                                          ACTION

       1.   The plaintiff, an inmate at the Federal Correctional Institute (FCI),

Aliceville, Alabama, brings this action pursuant to Bivens v. Six Unknown Federal

Narcotics Agents, 403 U.S. 388 (1971), to enjoin the defendants to perform their

constitutional duties to provide urgent medical care to plaintiff, who has been

diagnosed with malignant breast cancer, and to seek appropriate compensatory

damages for their failure to do so in violation of plaintiff’s rights under the Eighth

Amendment to the United States Constitution.

                            JURISDICTION AND VENUE

       2.   Jurisdiction of this Court is invoked pursuant to 28 U.S.C. § 1331.

       3.   Plaintiff is a citizen and resident of Surry County, North Carolina; and

was convicted of criminal offenses in the United States District Court for the Middle

District of North Carolina, and sentenced by Judge Catherine Eagles, as set forth

below.1 Venue is therefore proper in this Court pursuant to 28 U.S.C. § 1391.

                                         PARTIES


1
 Pursuant to 18 U.S.C. 4205(g) and 18 U.S.C. § 3582, as amended by the Firs Step Act, plaintiff
has filed a Motion for Compassionate Relief in that action, MDNC Case No. 1:13 CR 186-6,
based on the same and/or similar facts as outlined below, which is pending before the Court.
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      4.   As stated above, plaintiff Angela M. Beck is a citizen and resident of

Surry County, North Carolina, and is currently incarcerated at the Federal

Correctional Institute (FCI), Aliceville, Alabama.

      5.   The defendant, Hugh J. Hurwitz, is the Director of the Federal Bureau of

Prisons (BOP), an agency of the United States of America. In his capacity as

Director, defendant Hurwitz is constitutionally authorized, empowered and

obligated to ensure that inmates within the custody of the Bureau of Prisons of the

United States, including the FCI, Aliceville, Alabama, are provided reasonable and

adequate medical care for any medical conditions which may afflict them. Defendant

Hurwitz is sued in his official capacity as Director of the Federal Bureau of Prisons,

and in his individual capacity.      Defendant Hurwitz is referred to hereafter

collectively with the other governmental defendants as “the BOP defendants.”

      6.   The defendant, J.A. Keller, is the Southeast Regional Director of the

Federal Bureau of Prisons, an agency of the United States of America. In his capacity

as Southeast Regional Director, defendant Keller is constitutionally authorized,

empowered and obligated to ensure that inmates within the custody of the Bureau of

Prisons of the United States, including the FCI, Aliceville, Alabama, are provided

reasonable and adequate medical care for any medical conditions which may afflict

them. Defendant Keller is sued in his official capacity as Southeast Regional

Director of the Federal Bureau of Prisons and in his individual capacity. Defendant


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Keller is referred to hereafter collectively with the other governmental defendants as

“the BOP defendants.”

      7.   The defendant, Patricia V. Bradley, is the Warden of the FCI, Aliceville,

Alabama. In her capacity as Warden, defendant Bradley is constitutionally

authorized, empowered and obligated to ensure that inmates within her custody are

provided reasonable and adequate medical care for any medical conditions which

may afflict them. Defendant Bradley is sued in her official capacity as Warden of

FCI, Aliceville, and in her individual capacity. Defendant Bradley is referred to

hereafter collectively with the other governmental defendants as “the BOP

defendants.”

      8.   The defendant Seven Corners, Inc. (defendant Seven Corners) is a

corporation incorporated in the State of Indiana with a Certificate of Authority to

transact business in North Carolina. Upon information and belief, defendant Seven

Corners is an agent of the above named defendants responsible for the administration

of medical care and treatment in federal prisons throughout the country; and in the

performance of such duties, has acted under the color of federal law. In this capacity,

defendant Seven Corners is constitutionally obligated to ensure that inmates within

the custody of the Bureau of Prisons are provided reasonable and adequate medical

care for any medical conditions which may afflict them. Defendant Seven Corners




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is referred to hereafter collectively with the other defendants in the designation “the

defendants.”

      9.   At all times pertinent to this action, defendants John Doe and Jane Doe

have been officers, agents, and/or employees of FCI, Aliceville. “Defendants John

Doe and Jane Doe” (defendants Doe) is a designation intended to include and refer

to all officers, agents, and or employees of FCI, Aliceville, who participated in the

refusal and/or delay of plaintiff’s medical care and violated plaintiff’s constitutional

rights, as described below, resulting in injuries to plaintiff. Defendants Doe are sued

in their individual and official capacities as officers, agents, and or employees of

FCI, Aliceville.     Plaintiff is unable, in the absence of discovery, to identify

defendants Doe further; nevertheless, upon information and belief, defendants Doe

are readily identifiable to the other defendants, and through discovery plaintiff will

supplement this complaint to provide these defendants’ full names. Defendants Doe

are referred to hereafter collectively with the other individual defendants in the

designation “the defendants.”

                                       FACTS

    Facts Regarding Defendants’ Authority and Responsibilities to Provide
                  Medical Care and Treatment for Plaintiff

      10. As alleged above, at all times pertinent to this action, the BOP defendants

were constitutionally required to provide reasonable, effective and adequate medical

care and treatment of plaintiff’s cancer, including the provision of prompt referrals
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to specialists and medical providers qualified to perform all necessary testing and to

determine the appropriate medical therapy and procedures to treat plaintiff’s cancer.

In addition, in order to carry out their responsibilities and properly delegate duties

to their agents, the BOP defendants were responsible for establishing policies and

procedures to effect the prompt and appropriate administration of medical care and

treatment to its inmates.

      11. As alleged above, upon information and belief, at times pertinent to this

action, defendant Seven Corners was obligated as an agent of the BOP defendants

to administer reasonable, prompt and effective medical care to BOP inmates,

including the prompt referral of inmates to appropriate specialists and the scheduling

of necessary examinations and procedures, and to establish or adhere to policies and

procedures to effect their responsibilities as administrators.

        Facts Concerning Plaintiff’s Medical Condition and Treatment

      12. On December 12, 2013, plaintiff was convicted of drug offenses in the

United States District Court for the Middle District of North Carolina, as

documented in Case No. 1:13 CR 186-6.

      13. The Court sentenced plaintiff to a term of 189 months in the Federal

Bureau of Prisons (BOP), which was subsequently reduced to 165 months. Since

2013, plaintiff has been in BOP custody at FCI, Aliceville, Alabama. Plaintiff is




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presently 47 years of age, and as of the anticipated date of her release at the

expiration of her sentence will be approximately 54 years of age.

      14. In or about August to September, 2017, plaintiff reported to prison

officials that she had discovered a lump in her left breast which she had detected

through self-testing. Plaintiff’s left breast was sore and tender to the touch. Plaintiff

requested a medical examination but did not receive one until October 16, 2017.

      15. On October 16, 2017, a prison doctor examined plaintiff and noted her

reported lump in her left breast. The prison doctor advised that plaintiff needed to

be tested for breast cancer. Plaintiff was extremely distressed at this information

due to the fact that she was well-aware of her family history of breast cancer and

that she was vulnerable to the disease and its potential consequences.

      16. On December 6, 2017, almost two months after the prison doctor’s urgent

request, plaintiff was examined by a general surgeon. The surgeon noted plaintiff’s

“history of knowledge of L [left] breast masses & recent discovery of R [right] breast

masses as well.” He also noted her “[s]trong family history of mother, maternal aunt,

& maternal great-grandmother with breast cancer.” The surgeon’s impression was

“clinical suspicion for left breast cancer,” and noted an “[u]rgent plan” for a bilateral

mammogram with ultrasound and follow-up.

      17. On December 21, 2017, plaintiff was transported to Pickens County

Medical Center in Carrollton, Alabama, which conducted a mammogram, finding


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multiple breast masses and cysts. The examining doctor emphasized that the test

was “highly suggestive of malignancy,” and advised referral to general surgery for

a biopsy.

      18. On December 29, 2017, the prison doctor, after reviewing the

mammogram report, also advised that plaintiff be referred to a general surgeon for

biopsy of her breast.

      19. On January 8, 2018, the prison doctor again stated that plaintiff was in

need of a left breast biopsy.

      20. On January 29, 2018, plaintiff was seen by the nursing staff because she

had a knot in her breast which, according to plaintiff’s reports, was “new” and

“painful.” The prison medical director described plaintiff’s condition of her left

breast and again noted “general surgery consult pending.”

      21. On February 7, 2018, plaintiff was examined by a general surgeon who

again noted that plaintiff had a family history of breast cancer, and again requested

ultrasound guided bilateral breast biopsies.

      22. On March 1, 2018, an examination by a prison medical provider revealed

that plaintiff had multiple lumps in her breasts described as being the sizes of,

respectively, a “walnut,” “a small plum,” an “acorn,” an “almond,” an “egg” and a

“prune.”




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      23. On May 11, 2018, a prison doctor again noted that plaintiff needed to

proceed with biopsies of her breasts.

      24. On June 3, 2018, plaintiff was seen by a surgeon who noted her history

and again advised that she had possible breast cancer and advised BRCA (genetic)

testing to decide on the course of action in surgery.

      25. On June 26, 2018, plaintiff complained of soreness in her nipples, and

the prison doctor again noted that “general surgery consult breast biopsy pending.”

      26. On July 10, 2018, plaintiff was again examined by the prison doctor who

again discovered masses in both breasts which needed biopsies.

      27. On July 26, 2018, BRCA genetic testing was performed and the results

were received by the surgeon on or about August 7, 2018. Based upon the genetic

test results, the surgeon recommended a left breast needle localization biopsy.

      28. On August 10, 2018, a prison doctor again noted plaintiff’s history and

observed “[l]ocalized swelling, mass and lump, trunk, abnormal results of function

studies of organs and systems” as support for breast biopsy.

      29. On August 10, 2018, a breast biopsy was finally ordered, scheduled for

August 28, 2018.

      30. On August 14, 2018, the prison doctor, again, followed up concerning

the need for biopsy.




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       31. On August 28, 2018, over eight months after the emergent results of

plaintiff’s mammogram and the urgent request of plaintiff’s surgeon for a biopsy,

plaintiff was finally transported to the local medical facility, DCH Regional in

Tuscaloosa, Alabama, for a left breast biopsy. The biopsy was performed on the

same date and revealed “extensive breast disease that extended laterally.”

       32. On September 6, 2018, the surgical pathology results from plaintiff’s

biopsies were reported, and plaintiff was diagnosed with malignant breast cancer,

Stage II, in her left breast.

       33. There was no medical justification for the repeated delays between the

prison doctor’s initial detection of lumps in plaintiff’s left breast, and plaintiff’s

positive mammogram and her biopsy, which had been requested urgently and

repeatedly by her medical providers during the interim.

       34. Although plaintiff had been informed by her medical providers after the

biopsy that surgery should be scheduled without delay, she heard nothing from

defendants about the scheduling of the surgery for over a month and was told that it

had been “put on hold due to the hurricane.”

       35. Plaintiff inquired of defendant Bradley in writing about the scheduling

of the surgery. Upon information and belief, at the time of plaintiff’s inquiry,

defendants had taken no action to schedule a date for the urgent surgery, but in




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response to her inquiry, defendant Bradley contacted the prison medical department

and informed plaintiff that her surgery was being scheduled “in the very near future.”

      36. On October 24, 2018, when plaintiff still had received no word as to the

specific schedule of the surgery, she filed a Request for Administrative Remedy

addressed to defendant Bradley, writing the following:

      I have been waiting patiently to go and have my breast removed
      because I have been told numerous times that I am going real soon but
      it’s been since the end of August and my cancer is in stage 2. I don’t
      want this cancer to get any worse while I sit here waiting on someone
      to do what they are suppose [sic] to do to help me get medical treatment.
      I have a family that cares about me and wants me to make it home.
      Sometimes I wonder if I am ever going to get my surgery, the doctor
      wanted it done the next week and it’s already been 2 months. I am still
      a human being and I need to get this done before it gets any worse. Each
      day that I wait this cancer is growing inside of my body. Please get me
      out to the hospital.

      37. Finally, on November 1, 2018, plaintiff was transported to DCH

Regional Medical Center where a general surgeon performed a modified left radical

mastectomy, including axillary lymph nodes. The surgeon noted that plaintiff

should return for a follow-up examination within one week.

      38. Following the surgery, plaintiff lost feeling and mobility of her left arm.

      39. The defendants failed and refused to comply with the surgeon’s advice

as to follow-up care. Specifically, in non-compliance with the surgeon’s discharge

instructions, plaintiff received no follow-up appointment with the surgeon for over

a month.


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      40. Finally, on December 13, 2018, approximately six weeks after plaintiff’s

surgeon had advised follow-up treatment within a week of surgery, plaintiff finally

had a follow-up visit with the surgeon. The surgeon, emphasizing the need for

plaintiff to be evaluated by an oncologist, noted that plaintiff may require a portacath

placement for potential chemotherapy.

      41. Despite the surgeon’s specific advice, defendants failed and refused to

schedule an oncology consult.

      42. On March 21, 2019, plaintiff was again taken to see her surgeon who

again noted her history, examined her, and found multiple breast cysts, stating that

her condition had deteriorated. The surgeon ordered a puncture aspiration of the

cysts with ultrasound guidance and, noting a breast mass that was unchanged,

ordered a needle localization of the right breast if the solid mass was still present

with cyst aspiration. On March 24, 2019, the surgeon performed the prescribed

procedure, describing the “removal of dark greenish fluid – benign cystic fluid

multiple cysts.”

      43. Upon information and belief, on or about April 3, 2019, almost four

months after plaintiff’s surgeon advised for an oncologist to evaluate plaintiff, she

was finally transported to see an oncologist. Upon information and belief, the

oncologist recommended further testing, and depending on the results, consideration

of potential additional surgery and therapy. The oncologist further recommended


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that plaintiff see a radiation oncologist. Upon information and belief, to date, no

arrangements have been made to see that the oncologist’s recommendations are

carried out.

      44. Given the urgency of determining adjuvant therapy to treat plaintiff’s

malignant breast-cancer, there is no medical justification for defendants’ delay of

almost six months in providing appropriate follow-up care to plaintiff following her

surgery, including evaluation by an oncologist and a radiation oncologist to

determine the appropriate therapy to treat and prevent the recurrence or spread of

her breast-cancer.

                Defendants’ Deliberate Indifference to Plaintiff’s
                 Urgent Needs for Treatment of Breast Cancer

      45. At all times during the above time period, defendants were aware of the

urgency of plaintiff’s condition, and yet continuously and unjustifiably delayed

treatment and failed to provide reasonable and adequate medical care to plaintiff.

      46. Specifically, defendants’ 10-month delay following detection of lumps

in her left breast and 8-month delay following her positive mammogram until a

biopsy was performed were unjustifiable and constitute grossly inadequate medical

care and substantial departures from the standard of care for the treatment of breast

cancer, creating a significant risk that plaintiff’s cancer will return and cause

irreparable harm to plaintiff.



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      47. In addition, defendants’ continuing delays of over six months in

providing critical follow-up treatment following plaintiff’s surgery to determine the

proper adjuvant therapy necessary to treat her breast cancer constitutes grossly

inadequate medical care which, upon information and belief, is continuing, and

substantial departure from the standard of care for the treatment of breast cancer,

creating a significant risk that plaintiff’s cancer will return and cause irreparable

harm to plaintiff.

      48. Upon information and belief, defendants Hurwitz and Keller had actual

or constructive knowledge that one or more subordinates or agents were engaged in

conduct that posed a pervasive and unreasonable risk of constitutional injury to

plaintiff. Further, their response to their conduct was so inadequate as to show

deliberate indifference to or tacit authorization of the practices and there is an

affirmative causal link between their inaction and the constitutional injury suffered.

      49. Upon information and belief, defendant Bradley had actual or

constructive knowledge that one or more subordinates or agents were engaged in

conduct that posed a pervasive and unreasonable risk of constitutional injury.

Further, defendant Bradley’s response to their conduct was so inadequate as to show

deliberate indifference to or tacit authorization of the practices, and there is an

affirmative causal link between her inaction and the constitutional injury suffered.




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       50. As a result of defendants’ continuing failures to perform their

constitutional obligations to plaintiff, plaintiff is at a significant, increased risk that

her breast cancer will recur or spread, and her life may be threatened.

       51. Nevertheless, defendants still have failed to ensure that plaintiff is

receiving reasonable, adequate and prompt care to treat her breast cancer and prolong

her life.

                      Exhaustion of Administrative Remedies

       52. Upon information and belief, plaintiff has exhausted her administrative

remedies under the PLRA, 42 U.S.C. § 1997e.

                         FIRST CLAIM FOR RELIEF
                 Violation of Plaintiff’s Constitutional Rights—
            Claim for Immediate Injunctive Relief Based on Plaintiff’s
                    Urgent Need for Treatment of her Cancer

       53. Plaintiff incorporates the foregoing allegations as if fully set forth herein.

       54. As an inmate in defendants’ federal prison system, plaintiff has a

constitutional right to reasonable and adequate medical care from the defendants

pursuant to the Eighth Amendment to the United States Constitution.

       55. Defendants violated plaintiff’s constitutional rights in denying her

necessary and urgent medical care and treatment for her breast cancer. Specifically,

defendants’ above conduct constitutes deliberate indifference to plaintiff’s urgent

needs for treatment of her breast cancer as follows:



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         a. In deliberately and intentionally denying plaintiff the urgent and critical

             care and treatment which she needed;

         b. In ignoring or disregarding the known substantial risk of serious harm

             to plaintiff created by the excessive and repeated delays in providing a

             biopsy, in scheduling surgery, and in providing appropriate post-

             surgical follow-up care and therapy, delays which are well-documented

             in defendants’ files;

         c. In delaying the treatment which exacerbated plaintiff’s injuries and

             unnecessarily prolonged plaintiff’s pain;

         d. In failing to establish and/or adhere to appropriate policies and

             procedures for the treatment of serious medical needs of plaintiff.

      56. Defendants’ conscious disregard of the risks facing plaintiff violates all

standards of decency.

      57. As a proximate result of defendants’ continuing violations of plaintiff’s

constitutional rights, plaintiff has suffered and is suffering severe life-threatening

conditions from her malignant breast cancer.

      58. If defendants had provided reasonable and adequate medical care, as

repeatedly advised by her doctors who examined plaintiff from October 2017 to the

present, plaintiff’s breast cancer would have been treatable and her condition would

have improved.


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       59. In the absence of reasonable and adequate treatment, plaintiff’s condition

deteriorated and she is at increased risk of the spread of her disease which could

threaten her life.

       60. As set forth below, plaintiff is in need of immediate injunctive relief to

ensure that she receive urgent medical care by cancer specialists who can evaluate

her condition, determine the appropriate treatment, consider potential options of

chemotherapy, radiation or additional surgery to treat her cancerous condition, and

to help prevent the spread of her disease and save her life.

                            SECOND CLAIM FOR RELIEF
                     Violation of Plaintiff’s Constitutional Rights—
                           Claim for Compensatory Damages

       61. Plaintiff incorporates the foregoing allegations as if fully set forth herein.

       62. As an inmate in defendants’ federal prison system, plaintiff has a

constitutional right to reasonable and adequate medical care from defendants

pursuant to the Eighth Amendment to the United States Constitution.

       63. Defendants violated plaintiff’s constitutional rights in denying her

necessary and urgent medical care and treatment for her breast cancer, as alleged

specifically in ¶55 above.

       64. Defendants’ conscious disregard of the risks facing plaintiff violates all

standards of decency.




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      65. As a proximate result of defendants’ continuing violations of plaintiff’s

constitutional rights, plaintiff has suffered and is suffering severe life-threatening

conditions from her malignant Stage II breast cancer.

      66. In addition to her need of immediate injunctive relief, plaintiff is entitled

to compensatory damages for personal injuries which she sustained as a result of

defendants’ violations.

                             REQUEST FOR RELIEF

        Plaintiff respectfully requests the following relief:

      A.     That this Court enter a temporary restraining order and a preliminary

injunction ordering and directing defendants to provide immediate, urgent and

adequate medical treatment for plaintiff’s life-threatening breast cancer;

      B.     That plaintiff recover compensatory damages for the violations of her

federal constitutional rights;

      C.     That plaintiff recover pre-judgment and post-judgment interest on all

amounts recovered herein;

      D.     That plaintiff recover the costs of this action, including reasonable

attorney’s fees pursuant to the Equal Access to Justice Act, 5 U.S.C. § 504; and 28

U.S.C. § 2412.




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                         DEMAND FOR JURY TRIAL

        Pursuant to Rule 38 of the Federal Rules of Civil Procedure, plaintiff hereby

demands a trial by jury on all issues presented herein.

        This the 10th day of May, 2019.



                                       Elliot Morgan Parsonage, PLLC.

                                       /s/ Robert. M. Elliot
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